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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 X------------------------------------------------------X
 JLM COUTURE, INC,                                             Case No.: 20-CV-10575 (LTS)(SLC)

                                     Plaintiff,
                                                                     CONFIDENTIALITY
                               v.                                    STIPULATION AND
                                                                    PROTECTIVE ORDER

    HAYLEY PAIGE GUTMAN,

                                      Defendant.
    X------------------------------------------------------X


           WHEREAS, the Parties having agreed to the following terms of confidentiality, 1 and the
    Court having found that good cause exists for the issuance of an appropriately tailored
    confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, it is hereby

           ORDERED that the following restrictions and procedures shall apply to the information
    and documents exchanged by the parties in connection with the pre-trial phase of this action:

            1.     Counsel for any party may designate any document or information, in whole or in
    part, as confidential if counsel determines, in good faith, that such designation is necessary to
    protect the interests of the client in information that is proprietary, a trade secret or otherwise
    sensitive non-public information. Information and documents designated by a party as confidential
    will be stamped , imprinted or otherwise labeled as “CONFIDENTIAL.” To the extent that
    discovery is being requested on an expedited basis, counsel for any party may designate a
    document, or make a blanket “CONFIDENTIAL” designation on documents, to be produced
    without violating the first sentence of this paragraph if the level of scrutiny reasonably required in
    designating such documents is impractical and the party has a good faith basis to believe that the
    documents contain confidential information. If any party intends to use a document later in this
    action that was produced on an expedited basis and is designated as “CONFIDENTIAL”, such as
    making a publicly viewable Court filing, the parties shall meet and confer in good faith in order to
    determine which, if any, such documents should be re-labeled to remove or narrow the
    “CONFIDENTIAL” designation as appropriate. If material cannot be so labeled, the producing
    party may designate the documents as “CONFIDENTIAL” by sending written notice to the
    receiving party for each document that the producing party asserts is “CONFIDENTIAL”. Any
    “CONFIDENTIAL” designation that is inadvertently omitted during production may be corrected
    by providing counsel for all parties with written notice as soon as such omission is determined.

1
 The parties have agreed to the terms of this Confidentiality Stipulation and [Proposed] Protective
Order (the “Order”) without waiver of any position or objection as to any request for expedited
discovery. Furthermore, both parties reserve the right to seek leave for the entry of a more
comprehensive protective Order with additional protections that may be appropriate as this action
progresses.
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Any document whose cover page, text, or accompanying letter of transmittal states that it is
confidential, privileged and/or proprietary business information shall be deemed confidential
without any further labeling thereof. Copies or excerpts of information contained within, or
summaries, notes or charts containing any information, document, or thing designated as
“CONFIDENTIAL” shall be treated in accordance with this Order.

        2.     The Confidential Information disclosed will be held and used by the person
receiving such information solely for use in connection with the action, in accordance with the
terms of this Order, and other than as provided herein, will not disclose any Confidential
Information, including any excerpts therefrom, or make it available to any person or entity.

       3.      In the event a party challenges another party’s designation of confidentiality,
counsel shall make a good faith effort to resolve the dispute, and in the absence of a resolution, the
challenging party may seek resolution by the Court. Nothing in this Protective Order constitutes
an admission by any party that Confidential Information disclosed in this case is relevant or
admissible. Each party reserves the right to object to the use or admissibility of the Confidential
Information.

        4.     The parties should meet and confer if any production requires a designation of “For
Attorneys’ or Experts’ Eyes Only.” All other documents designated as “CONFIDENTIAL” shall
not be disclosed to any person, except:

            a.      The parties to this action and their employees and agents, provided that such
                    disclosure is needed to assist in the prosecution or defense of this action.

            b.      Counsel for the parties, including in-house counsel;

            c.      Employees of counsel for the parties assigned to and necessary to assist in the
                    litigation;

            d.      Consultants or experts assisting in the prosecution or defense of the matter, to
                    the extent deemed necessary by counsel;

            e.      Court reporters, stenographers, and/or videographers transcribing or
                    otherwise recording the testimony or argument at a hearing, trial, or
                    deposition in this case or any appeal;

            f.      Photocopy, document imaging, and database service providers and
                    consultants retained by counsel to set up, maintain and/or operate computer
                    systems, litigation databases or to convert data for inclusion in such
                    databases; and

           g.      The Court (including the mediator, or other person having access to any
                   Confidential Information by virtue of his or her position with the Court).

       5.     Prior to disclosing or displaying the Confidential Information to any person,
counsel must:
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           a.      Inform the person of the confidential nature of the information or documents;

           b.      Inform the person that this Court has enjoined the use of the information or
                   documents by him/her for any purpose other than this litigation and has
                   enjoined the disclosure of the information or documents to any other person;
                   and

           c.      With the exception of person(s) listed in Paragraph 4(b) or (c), require each
                   such person to sign an agreement to be bound by this Order in the form
                   attached as Exhibit A.

        6.     The disclosure of a document or information without designating it as
“Confidential” shall not constitute a waiver of the right to designate such document or information
as Confidential Information. If so designated, the document or information shall thenceforth be
treated as Confidential Information subject to all the terms of this Stipulation and Order.

        7.      Any Personally Identifying Information (“PII”) (e.g., social security numbers,
financial account numbers, passwords, and information that may be used for identity theft)
exchanged in discovery shall be maintained by the receiving party in a manner that is secure and
confidential and shared only with authorized individuals in a secure manner. The producing party
may specify the minimal level of protection expected in the storage and transfer of its information.
In the event the party who received PII experiences a data breach, it shall immediately notify the
producing party of same and cooperate with the producing party to address and remedy the breach.
Nothing herein shall preclude the producing party from asserting legal claims or constitute a waiver
of legal rights and defenses in the event of litigation arising out of the receiving party’s failure to
appropriately protect PII from unauthorized disclosure.

        8.      Pursuant to Federal Rule of Evidence 502, the production of privileged or work-
product protected documents or communications, electronically stored information (“ESI”) or
information, whether inadvertent or otherwise, shall not constitute a waiver of the privilege or
protection from discovery in this case or in any other federal or state proceeding. This Order shall
be interpreted to provide the maximum protection allowed by Federal Rule of Evidence 502(d).
Nothing contained herein is intended to or shall serve to limit a party’s right to conduct a review
of documents, ESI or information (including metadata) for relevance, responsiveness and/or
segregation of privileged and/or protected information before production.

        9.      Notwithstanding the designation of information as “Confidential” in discovery,
there is no presumption that such information shall be filed with the Court under seal. In the event
that a party wishes to use any “Confidential Information” information designated as
“CONFIDENTIAL” in any paper filed with the Court in this litigation, which comprise, excerpt,
reproduce, paraphrase, or contain designated “Confidential Information”, the party shall file such
materials under seal, in accordance with A.5 of the Individual Practices of Judge Swain covering
Redactions and Filing Under Seal or I.G of the Individual Practices of Judge Cave, as applicable.
Except the three (3) day notice period in A.5 of the Individual Practices of Judge Swain shall not
prohibit a party from seeking to file documents under seal, that have been so designated by the
opposing party, in connection with the pending preliminary injunction request.

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         10.    At the conclusion of litigation, Confidential Information and any copies thereof
 shall be promptly (and in no event later than 30 days after entry of final judgment no longer subject
 to further appeal) returned to the producing party or certified as destroyed, except that the parties’
 counsel shall be permitted to retain their working files on the condition that those files will remain
 protected.

        11.     Nothing herein shall preclude the parties from disclosing material designated to be
 Confidential Information if otherwise required by law or pursuant to a valid subpoena.



 SO STIPULATED AND AGREED.


Dated: January 12
               __, 2021                            Dated: January __, 2021
       New York, New York                                 New York, New York

ADELMAN MATZ P.C.                                  HAYES AND BOONE, LLP


By:_____________________                           By:__________________________
Sarah M. Matz, Esq.                                Joseph Lawlor, Esq.
1173A Second Avenue, Suite 153                     30 Rockefeller Plaza, 26th Floor
New York, NY 10065                                 New York, New York 10112
Phone: (646) 650-2207                              Phone: (212) 659-7300
Email: sarah@adelmanmatz.com                       Email: joseph.lawlor@haynesboone.com
Attorneys for Plaintiff JLM Couture, Inc.          Attorneys for Defendant Hayley Paige Gutman




                                                                SO-ORDERED 1/12/2021




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                                                   Exhibit A

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 X------------------------------------------------------X
 JLM COUTURE, INC,                                          Case No.: 20-CV-10575 (LTS)(SLC)

                                  Plaintiff,

                            v.


 HAYLEY PAIGE GUTMAN,

                                   Defendant.
 X------------------------------------------------------X

    DECLARATION OF_____________________ UNDER CONFIDENTIALITY ORDER

        I, ________________________________,pursuant to 28 U.S.C. § 1746, declare under

the penalty of perjury, as follows:

        1.       I am presently employed by _________________________________, and my

current address is __________________________________________.

        2.       I have been informed by counsel that certain documents or information to be disclosed

to me in connection with the matter entitled have been designated as confidential. I have been

informed that any such documents or information labeled “CONFIDENTIAL” are confidential by

Order of the Court.

        3.       I have read the Confidentiality Stipulation and Order dated ________________

(collectively “the Confidentiality Order”) and agree to comply with and be bound by each of the

applicable terms.

        4.       I hereby acknowledge and agree that any information or material designated as

“CONFIDENTIAL” that I receive or review in this lawsuit is provided to me pursuant to the terms

and restrictions of the Confidentiality Order. I hereby agree that I will not disclose any information


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contained in such documents to any other person. I further agree not to use any such information for

any purpose other than this litigation.

       5.      I understand that I am to handle all of the materials that I receive which have been

designated as “CONFIDENTIAL” in a manner consistent with the Confidentiality Order. No later

than thirty (30) days after final termination of this litigation, including any and all appeals, or

resolution through settlement, I agree to return to the counsel of record who provided me with such

materials all information and documents designated as “CONFIDENTIAL” including all copies,

extracts, and summaries thereof (and including those I prepared), or I will certify in writing that all

such materials have been destroyed. Such return or destruction shall not relieve me from any of the

continuing obligations imposed upon me by the Confidentiality Order.

       6.      I hereby submit myself to the jurisdiction of the United States District Court for the

Southern District of New York for the limited purpose of assuring my compliance with the

Confidentiality Order.

       I declare under penalty of perjury that the foregoing is true and correct.

 Dated:_______________________                   By:______________________________________
                                                    (signature of declarant)

                                                       ______________________________________
                                                       (printed name of declarant)




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